Case 1:09-cr-00240-KD-N          Doc# 208       Filed 03/09/10      Page 1 of 3       PageID# 844




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA                          )

vs.                                               )   CRIMINAL ACTION NO. 09-00240-KD

JOSE NORIEGA, et al,                              )   USAO NO. 09-R00439

       Defendants.                                )

                         PRELIMINARY ORDER OF FORFEITURE

       WHEREAS, in the Superseding Indictment in the above titled case, the United States

sought forfeiture of property which represented drug proceeds, and/or property used to facilitate

drug transactions of defendant JOSE NORIEGA pursuant to Title 21, United States Code,

Section 853;

       AND WHEREAS, the defendant was found guilty on February 12, 2010, as to Counts

One and Two of the Superseding Indictment, and for the reasons stated, it is hereby

       ORDERED, ADJUDGED AND DECREED, that pursuant to Title 21, United States

Code, Sections 846, 841(a)(1) and 853, and Federal Rule of Criminal Procedure 32.2(b), the

interests of defendant JOSE NORIEGA are hereby condemned and forfeited to the United

States for disposition according to law in the real property identified as follows:

       a. All of that lot or parcel of land, together with it’s building, appurtenances,
       improvements, fixtures, attachments and easements, that would constitute the
       residence, curtilage and outlying property with the street address of 8500 Chutney
       Drive, in Eight Mile, Alabama, which property is more particularly described as:

       PARCEL 1:

       Lot 44 Spice Pond Estates, Unit 3, a subdivision, according to a map or plat
       thereof which is on file of record in the Office of the Judge of Probate of Mobile
       County, Alabama, in Map Book 20, page 90.

       PARCEL 2:
Case 1:09-cr-00240-KD-N            Doc# 208       Filed 03/09/10       Page 2 of 3        PageID# 845




        That parcel of land in the SW 1/4 of the NW 1/4 of Section 1, Township 3 South,
        Range 3 West, lying West of the East line of Lot 44, Spice Pond Estates, Unit
        Three, according to the plat thereof recorded in Map Book 20, page 90 in the
        records of the Office of the Judge of Probate, Mobile County, Alabama, if said
        line was extended Northwardly to the North line of said SW 1/4 of the NW 1/4 of
        said section.

        LESS AND EXCEPTING THEREFROM such oil, gas and other minerals in, on
        and under the above described real property, together with all rights in connection
        therewith, as have previously been reserved by or conveyed to others.

        AND WHEREAS, by virtue of the jury’s findings, the United States in now entitled to,

and should, pending possible appeal herein, reduce the said property to its possession and notify

any and all potential third parties who have or may have in interest in the forfeited property,

pursuant to Title 21, United States Code, Section 853 and Rule 32.2(b) of the Federal Rules of

Criminal Procedure.

        Now therefore, it is hereby ORDERED, ADJUDGED AND DECREED:

        Pursuant to the jury’s findings, all right, title, and interest of defendant JOSE

NORIEGA in the above described property is hereby forfeited to and vested in the United States

of America for disposition in accordance with law, subject to provisions of Title 21, United

States Code, Section 853(n).

        Pursuant to 21 U.S.C. S 853(n)(1) and the Attorney General’s authority to determine the

manner of publication of an Order of Forfeiture in a criminal case, the United States shall

publish notice of this order on an official government internet site (www.forfeiture.gov) for at

least 30 consecutive days.

        This notice shall state that the petition shall be for a hearing to adjudicate the validity of

the petitioner’s alleged interest in the property, shall be signed by the petitioner under penalty of

perjury, and shall set forth the nature and extent of the petitioner’s right, title or interest in the

                                                    2
Case 1:09-cr-00240-KD-N            Doc# 208       Filed 03/09/10     Page 3 of 3       PageID# 846




forfeited property and any additional facts supporting the petitioner’s claim and the relief sought.

          The United States may also, to the extent practicable, provide direct written notice to any

person known to have alleged an interest in the property that is the subject of the Order of

Forfeiture, as a substitute for published notice as to those persons so notified.

          After the disposition of any motion filed under Fed. R. Crim. P. 32.2(c)(1)(A) and before

a hearing on the petition, discovery may be conducted in accordance with the Federal Rules of

Civil Procedure upon showing that such discovery is necessary or desirable to resolve factual

issues.

          The United States shall have clear title to the property following the Court’s disposition

of all third-party interests, or if none, following the expiration of the period provided in Title 21,

United States Code, Section 853(n)(2) for the filing of third party petitions.

          The Court shall retain jurisdiction to enforce this Order, and to amend it as necessary,

pursuant to Fed. R. Crim. P. 32.2(e).

          The Clerk of the Court shall forward (5) certified copies of the Order to Assistant U.S.

Attorney George F. May, U.S. Attorney’s Office, Southern District of Alabama.

          DONE AND ORDERED this 9th day of March, 2010.

                                                s/ Kristi K. DuBose
                                                KRISTI K. DuBOSE
                                                UNITED STATES DISTRICT JUDGE




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